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EXHIBIT C
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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY

IN RE NEURONTIN ANTITRUST LITIGATION

OWENS v. PFIZER INC.

TRUJILLO v. PFIZER INC.

Nae Nee Se eee cee Nee

MDL Docket No. 1479

ORDER

Civil Action No. 02-1390CL)

Civil Action No. 02-1391(0/CL)
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SMITHFIELD FOODS, INC. v. PFIZER INC.

‘ SALOWE-KAYE v. PFIZER INC.

LOUISIANA WHOLESALE DRUG COMPANY,
INC. v. PFIZER INC.

MEIJER, INC. v. PFIZER INC.

ZAFARANA ¥. PFIZER INC.

COLLINS v. PFIZER INC.

SALL, ET AL v. PFIZER INC.

GREAT LAKES HEALTH PLAN v. PFIZER INC.

MELTZER v. PFIZER INC.

HEALTH & BENEFIT TRUST FUND OF THE
INTERNATIONAL UNION OF OPERATING
ENGINEERS LOCAL UNION 94, 94A, 94B v.
PFIZER INC.

JAFFE v. PFIZER INC.

D’ ANGELO v. PFIZER INC.

ACTION ALLIANCE OF SENIOR CITIZENS OF
GREATER PHILADELPHIA v. PFIZER INC.

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Civil Action No. 02-1397(JCL)

. Civil Action No

02-1527(JCL)

Civil Action No. 02-1830(JCL)

Civil Action No. 02-2731(JCL)

Civil Action No

Civil Action No

Civil Action No

Civil Action No

Civil Action No

Civil Action No

Civil Action No

Civil Action No

. 02-2741(JCL)

. 02-3514(0ICL)

. 02-3988(JCL)

. 02-3989(JCL)

. 02-3990(JCL) SO

. 02-3991(JCL)

. 02-3992(JCL)

_ 02-3993(JCL)

Civil Action No. 02-3994(JCL)
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VISTA HEALTHPLAN, INC. v. PFIZER INC. Civil Action No. 02-3995(JCL)

Civil Action No. 02-3996(/CL)

UNITED FOOD & COMMERCIAL WORKERS
LOCAL 56 HEALTH & WELFARE FUND v.
PFIZER INC.

PAINTERS DISTRICT COUNCIL NO. 30 Civil Action No. 02-3997(3CL)

HEALTH & WELFARE FUND v. PFIZER INC.

WILSON v. PFIZER INC. Civil Action No. 02-3998(JCL)

SOEURT v. PFIZER INC. Civil Action No. 02-3999 (JCL)

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WHEREAS, the above-captioned actions were either filed in this Court or transferred to
this Court by the Judicial Panel on Multidistrict Litigation where the action was captioned Jn re
Neurontin Antitrust Litigation (the Actions”);

WHEREAS the Actions were brought by either alleged direct purchasers or alleged
indirect purchasers of the brand name prescription drug Neurontin®;

WHEREAS, the Actions filed by the direct purchasers are titled: Louisiana Wholesale
Drug Company, Inc. v. Pfizer, Inc., Civil Action No. 02-1830 (JCL) and Meijer, Inc. v. Pfizer,
Inc., Civil Action No. 02-2731 (JCL) (the “Direct Purchaser Actions”);

WHEREAS, the Actions filed by indirect purchasers are set forth as Exhibit A hereto (the
“Indirect Purchaser Actions”);

WHEREAS, on August 27, 2002, the defendants filed a motion to stay the Actions

pending resolution of certain patent infringement litigations (the “Motion”);
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WHEREAS, responses to the Motion were filed by the: (a) plaintiffs in the Direct

Purchaser Actions; (b) plaintiffs in thirteen of the Indirect Purchaser Actions; and (c) plaintiffs in

five of the Indirect Purchaser Actions (the “Responses”),

WHEREAS, the defendants filed a reply to the Responses; and

WHEREAS, this Court held a hearing on the Motion on September 23, 2002;

THIS MATTER having come before the Court, and the Court having considered the
papers and heard argument and for good cause shown, it is on this 7 3 “tay of October, 2002
ordered, that:

1. Except to the extent set forth below, the Actions shall be stayed until the resolution
by the United States District Court for the District of New Jersey of the motions for summary
judgment currently served, filed or pending before the Honorable John C. Lifland in the actions ©
listed as Exhibit B to this Order (the “Patent Litigations”).

2. Notwithstanding the preceding paragraph, this Order shall not be construed to stay
proceedings with respect to the remand motions filed in Zafarana v. Pfizer, Inc., Civil Action
No, 02-2741 (JCL) and Sall v. Pfizer, Inc., Civil Action No. 02-3988 (JCL) (‘‘SalP’) (the —
“Remand Motions”).

3. With respect to the Remand Motions, defendants shall serve their opposition in Sall

on or before October 11, 2002 and plaintiffs in Sal? shall serve their reply on or before October

25, 2002.

4. Notwithstanding the stay provided in {1 above, defendants shall make available to
the plaintiffs all past and future pleadings, motions, briefs, affidavits, exhibits and any other
material filed with the Court, and all responses to discovery, including responses to

interrogatories, document requests, deposition transcripts, requests to admit, and all documents
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produced by any party to any of the Patent Litigations, within 45 days following the entry of a
confidentiality order (as discussed in Paragraphs 5 and 6 below) with respect to those pleadings
and documents. To the extent the documents are available in electronic form they are to be made
available to the plaintiffs in that form. Plaintiffs shall bear the costs of duplication of the
pleadings and documents or the electronic media on which the documents are available. .

5. The parties to the Actions shall meet and attempt to confer in good faith among
themselves and with the parties to the Patent Litigations to negotiate an appropriate
confidentiality order. The parties shall endeavor to submit a proposed confidentiality order to
the Court on or before November 7, 2002. In addition, the parties shall confer in good faith
regarding how and to what extent discovery produced by non-parties to any of the Patent
Litigations, and materials filed or produced in the action styled Warner-Lambert Co. v. Apotex -
Corp., et al (N.D. Ill. Civil Action No. 98-CV-4293) may be provided to the plaintiffs consistent .
with the protective orders entered in those actions.

6, If the parties to the Actions and the parties to the Patent Litigations are unable to
agree on a confidentiality order by November 7, 2002, designated counsel (as listed in paragraph
8 below) are to notify the Court of that fact, and a hearing with respect to a confidentiality order

will be scheduled.

7. Notwithstanding the stay provided in §1 above, the parties to the Actions shall meet
and attempt to confer in good faith among themselves to negotiate the terms of one or more case
management orders. If the parties cannot agree on the terms of one or more case management

orders, any party may apply to the Court for a hearing to consider any unresolved issue.
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8. Pending the entry of a case management order (or case management orders), for the

purposes of this Order and service of papers in the Actions, service shall be made by overnight or

hand delivery on the following:

For Defendants:

For the Direct Purchasers:

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9. Pursuant to Rule 15 of the Federal Rules of Civil Procedure, within 30 days after the
expiration of the stay of the Actions described in 41 above, plaintiffs in the Indirect Purchaser
Actions and the Direct Purchaser actions may (together or separately) each file an amended ~
complaint.

10. The time within which defendants shall answer or otherwise move or respond with
respect to the extant complaints in the Actions or any amended complaints filed pursuant to

paragraph 9 hereto, is extended until 60 days after the expiration of the stay of the Actions

described in {1 above.

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EXHIBIT A

Owens v. Pfizer, Inc. and Warner-Lambert Co.,
Civil Action No. 02-1390 (JCL)

Trujillo v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-1391(JCL)

Smithfield Foods, Inc. v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-1397(JCL)

Salowe-Kaye v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-1527CL

Zafarana v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-2741(JCL)

Collins v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3514(JCL)

Sall, et al v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3988(JCL)

Great Lakes Health Plan V. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3989(JCL)

Meltzer V. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3990(JCL)

Health & Benefit Trust Fund of The International Union
of Operating Engineers Local Union 94, 94a, 94b V. Pfizer Inc.
and Warner-Lambert Co.,

Civil Action No. 02-3991(JCL)

Jaffe V. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3992(JCL)

D’angelo y. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3993(JCL)

Action Alliance of Senior Citizens of
Greater Philadelphia v. Pfizer Inc. and Warner-Lambert Co.,

Civil Action No. 02-3994(JCL)
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EXHIBIT A

Vista Healthplan, Inc. v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3995(JCL)

United Food & Commercial Workers
Local 56 Health & Welfare Fund v. Pfizer Inc. and Warner-Lambert Co.,

Civil Action No. 02-3996(JCL)

Painters District Council No. 30 Health
& Welfare Fund v. Pfizer Inc, and Warner-Lambert Co.,
Civil Action No. 02-3997(JCL)

Wilson v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3998(JCL)

Soeurt v. Pfizer Inc. and Warner-Lambert Co.,
Civil Action No. 02-3999 (JCL)
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EXHIBIT B

yy Inre Gabapentin Patent Litigation
MDL Docket No. 1384 /

_/Warner-Lambert Company v. Purepac Pharmaceutical Co. and Faulding, Inc.
Civil Action No. 00-2931 (JCL) (Gabapentin) ‘/

Pfizer, Inc. v. Purepac Pharmaceutical Co. & Faulding Inc.
Civil Action No. 00-3522(JCL) (Gabapentin)

4) Warner-Lambert Co. v. Apotex Corp., et al.
Civil Action o. 01-611(JCL)

_-Warner-Lambert Company v. Purepac Pharmaceutical Co. and Fi aulding, Inc.
“ Civil Action No. 98-2749 (JCL)

/Warner-Lambert Company v. Purepac Pharmaceutical Co. and Faulding, Inc.
Civil Action No. 99-5948 (JCL)

- /Warner-Lambert Company, Pfizer v. Teva Pharmaceutical Co.
Civil Action No. 00-4168(JCL) (Gabapentin)

S Warner-Lambert Company, Pfizer v. Teva Pharmaceutical Co.
¥ Civil Action No. 00-4589(JCL) (Gabapentin)

/ Warner-Lambert Company, Pfizer v. Zenith Goldline Laboratories
Civil Action No. 00-6073(JCL) (Gabapentin)

| Marner-Lambert Company, Pfizer v. Zenith Goldline Laboratories
Civil Action No. 01-0193(JCL) (Gabapentin)

y
: Warner-Lambert Company, Pfizer v. Zenith Goldline Laboratories
Civil Action No. 01-0577(JCL) (Gabapentin)

/Warner-Lambert Company, Pfizer v. Zenith Goldline Laboratories
Civil Action No. 01-1537(JCL) (Gabapentin)

_ Warner-Lambert Company, Pfizer v. Zenith Goldline Laboratories
Civil Action No. 01-1538(JCL) (Gabapentin)

LO Warner-Lambert Company, Pfizer v. Eon Lab Manufacturing, Inc.
Civil Action No. 01-2194(JCL) (Gabapentin)

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